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                              United States District Court
                                        for the
                              Southern District of Florida

   Ray F. Bueno, Plaintiff,               )
                                          )
   v.                                     )
                                          ) Civil Action No. 22-22831-Civ-Scola
   University of Miami, and others,       )
   Defendants.                            )

                   Order Referring Motion to Magistrate Judge
        The Court refers the Defendant University of Miami’s motion for an
  award of taxable costs (ECF No. 74) to United States Magistrate Judge Lisette
  M. Reid for a report and recommendations, consistent with 28 U.S.C. §
  636(b)(1)(B), Federal Rule of Civil Procedure 72, and Rule 1(d) of the Local
  Magistrate Judge Rules.
        Done and ordered, in Miami, Florida, on May 24, 2023.


                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
